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PUBLIC                                                          MDE 13/007/2002

                                                                     10 May 2002

Further information on UA 298/01 (MDE 13/046/2001, 27 November 2001; follow-up
MDE 13/014/2001, 12 December 2001; and MDE 13/001/2002, 1 February 2002 -
 di a ea a ce /      ible e   aj dicial e ecution and new concern: Health
concern/ possible ill-treatment

IRANSiamak Pourzand (m) aged 72 (previously given as 70) intellectual and
            manager of Majmue-ye Farhangi-ye Honari-ye Tehran (The Tehran
            Cultural Centre)

Siamak Pourzand recently suffered a heart attack, and was denied any medical
attention, according to his family. Amnesty International fears that he is
still being ill-treated in custody, and that his life may be in danger.

On 4 May he was reportedly sente ced     eigh   ea    im i     me , a d he e
are unconfirmed reports that he was coerced into not seeking an appeal against
the sentence.

Siamak Pourzand was reportedly last permitted to meet with his sister, Mahin
Pourzand, on 3 May. Siamak Pourzand was reportedly very weak, shaking and holding
a cloth over his mouth, raising fears that he may have been ill-treated but
did not want to alarm his sister.

He reportedly called his sister on 8 May and told her that on 10 May, she would
be all ed        ee him at the Edare-ye Amaken, or Bureau of Premises, the
offices of an organization reportedly responsible for the enforcement of
acce ed m al c de i c m a ie a d         he   ffice . A    f i     cl ck i   he
afternoon, Tehran time, no officials had called her.

Siamak P     a d a    ake i      c    d a hi      i e     h    e,    24 N embe
2001. Since then she has been allowed to meet with him several times, reportedly
always in the company of non-uniformed officials. The judiciary later appointed
a lawyer for him, but the lawyer reportedly did not have regular access to
him. I Ma ch he a               ial      e e al ag e cha ge , i cl di g ac
agai       a e ec i      a d   ela i      i h a i- e l i a        g      . The e
accusations do not constitute recognizably criminal offences.

On 9 March, he was reported to have confessed - in unclear circumstances -
to a range of accusations, including having received sums of money to distribute
       amed j    ali    a d     ha i g gi e im      a      li ical a d mili a
inf ma i          Pe ia la g age e      a e      bli hed      ide I a . He
 e     edl    a ed ha he had        a ic la defe ce a d ha         he ec g i ed
him elf a a i e .

FURTHER RECOMMENDED ACTION: Please send appeals to arrive as quickly as
possible, in English, French or in your own language:
- urging the authorities to allow Siamak Pourzand to receive any medical
treatment he needs;
- seeking assurances from the Head of the Judiciary that Siamak Pourzand is
not being ill-treated or tortured in custody;
- expressing concern that he appears to be a prisoner of conscience, arrested
solely for the peaceful expression of his beliefs;
- expressing concern that he has been denied the right of regular access to
legal representation and family visits;
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-urging the authorities that, unless he is to be charged with an internationally
recognized criminal offence, Siamak Pourzand should be released immediately
and unconditionally.

APPEALS TO:

Leader of the Islamic Republic
Hi E celle c A a llah Sa ed Ali Khame ei,
The Presidency, Palestine Avenue,
Azerbaijan Intersection, Tehran, Islamic Republic of Iran
Telegrams: Ayatollah Khamenei, Tehran, Iran
Salutation: Your Excellency
Email:      webmaster@wilayah.org; (on the subject line write: For the
attention of the office of His Excellency, Ayatollah al Udhma Khamenei, Qom)

President
His Excellency Hojjatoleslam val Moslemin Sayed Mohammad Khatami
The Presidency, Palestine Avenue
Azerbaijan Intersection, Tehran, Islamic Republic of Iran
Telegrams: President Khatami, Tehran, Iran
E-mail:     khatami@president.ir
Salutation: Your Excellency

Head of the Judiciary
His Excellency Ayatollah Mahmoud Hashemi Shahrudi
Ministry of Justice
Park-e Shahr
Tehran
Islamic Republic of Iran
Telegrams: Head of Judiciary, Tehran, Iran
Faxes:       + 98 21 879 6671 (number may be unreliable; please mark "Care of
Dr Mohammad Javad Shariatbagheri, Director of International Affairs,
Judiciary")
Salutation: Your Excellency

Minister of Foreign Affairs
His Excellency Kamal Kharrazi
Ministry of Foreign Affairs, Sheikh Abdolmajid Keshk-e Mesri Av
Tehran, Islamic Republic of Iran
Telegrams: Foreign Affairs Minister, Tehran, Iran
E-mail:      matbuat@mfa.gov.ir (may be unreliable)
Faxes:       + 98 21 390 1999 ( lea e ma k Ca e f M Pe ma eh Ha      e i, H ma
Righ    Office, F eig Mi i        )
Salutation: Your Excellency

COPIES TO:

Parliamentary Committee
Mohsen Mirdamadi Najafabadi
Article 90 Commission (Komisyon-e Asl-e Navad), Majles-e Shura-ye Eslami, Imam
Khomeini Avenue, Tehran, Islamic Republic of Iran
Telegrams: Majles, Tehran, Iran
Telex: 21 42 32 ICAI IR
Faxes:       + 98 21 646 1746 (Can be difficult to reach, please be patient)

Law Enforcement Forces (LEF, or the police)
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If possible, plea e c         a eal      he I lamic Re   blic   f I a   P lice
F ce ,     i g ha i i a c         f a a eal, a :
http://www.policeiri.org/fpage/contactus.html

Influential political party
Jami a -e Motalefeh-e Eslami (Islamic Coalition Society)
If possible, lea e c        a eal     Habib llah A ga ladi a d he membe
 f he Ce    al C mmi ee ,     i g ha i i a c         f a a eal, a :
E-mail: info@motalefeh.org

and to diplomatic representatives of Iran accredited to your country.

PLEASE SEND APPEALS IMMEDIATELY.
